                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                  Case No. 16-13256-BMW
RONALD RELF                                                                             Chapter 13
VANESSA RELF
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: stroude                Page 1 of 2                   Date Rcvd: Sep 17, 2018
                               Form ID: pdf010              Total Noticed: 41


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 19, 2018.
db/jdb          RONALD RELF,    VANESSA RELF,   5307 W MURIEL DR,    GLENDALE, AZ 85308-5356
aty            +ANDREW M. DUDLEY,    EDWARD J. MANEY, CHAPTER 13 TRUSTEE,     101 N. FIRST AVE., STE 1775,
                 PHOENIX, AZ 85003-1927
cr             +FLAGSHIP CREDIT ACCEPTANCE, LLC,    c/o Patricia Doyle-Kossick,      4500 S. Lakeshore Drive,
                 Suite 575,    Tempe, AZ 85282-7187
md             +JAMES F. KAHN,    BANKRUPTCY LEGAL CENTER,    301 E. BETHANY HOME RD., STE. C-195,
                 PHOENIX, AZ 85012-1266
cr             +U.S. Bank National Association, as trustee, on beh,      c/o McCarthy & Holthus, LLP,
                 8502 E. Via De Ventura, Suite 200,     Scottsdale, AZ 85258-3240
14326667       +1st Finl Invstmnt Fund,    3091 Governors Lake Dr,     Peachtree Corners GA 30071-1135
14326668        Abrazo Arrowhead Campus,    P O Box 745823,    Los Angeles CA 90074-5823
14326670        Bureau of Medical Economics,    PO Box 20247,    Phoenix AZ 85036-0247
14417122        CAPITAL ONE, N.A.,    C/O BECKET AND LEE LLP,    PO BOX 3001,     MALVERN PA 19355-0701
14326673        Carolyn E. Kurylas, MD PC,    P O Box 39179,    Phoenix AZ 85069-9179
14326674       +Central Financial Control,    PO Box 66044,    Anaheim CA 92816-6044
14326675       +Commonwealth Finanical Systems, Inc.,     245 Main Street,    Dickson City PA 18519-1641
14326679        Gateway Surgery Center,    690 N Cofco Center Ct.,     Suite 150,    Phoenix AZ 85008-6469
14326681       +Honorhealth Osborn Campus,    7400 E Osborn Rd,    Scottsdale AZ 85251-6432
14326055        McCarthy & Holthus LLP,    1770 Fourth Avenue,    San Diego, CA 92101-2607
14346207       +Michigan State Housing,    Development Authority,    735 E Michigan Ave,     Lansing MI 48912-1474
14326685      #+Progressive Finance Services, Inc.,     P O Box 22083,    Tempe AZ 85285-2083
14326686        Radavantage,    Lockbox# 9452 P O Box 8500,    Philadelphia PA 19178-9452
14326688        Sonora Quest Laboratories,    PO BOX 52880,    Phoenix AZ 85072-2880
14326690        Stoneleigh Associates,    P O Box 1479,    Lombard IL 60148-8479
14326691        The Orthopedic Clinic Association,    P O Box 664014,     Dallas TX 75266-4014
14326692       +Universal Recovery Corp,    2880 Sunrise Blvd,    Ste 136,    Rancho Cordova CA 95742-6102
14326693       +West Glen Community Inc,    c/o Brown Olcott, PLLC,     373 S. Main Ave,    Tucson, AZ 85701-2225
14326694       +Western General Insurance,    P.O. BOX 4493,    Woodland Hills CA 91365-4493
14724048        c/o McCarthy & Holthus LLP,    1770 Fourth Avenue,     San Diego, CA 92101-2607

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcynotices@azdor.gov Sep 18 2018 02:40:26        AZ DEPARTMENT OF REVENUE,
                 BANKRUPTCY & LITIGATION,     1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
14326669        E-mail/Text: bankruptcynotices@azdor.gov Sep 18 2018 02:40:26        Arizona Dept of Revenue,
                 Special Operations Section,     1600 W MONROE ST RM 720,    PHOENIX AZ 85007-2612
14427966        E-mail/PDF: resurgentbknotifications@resurgent.com Sep 18 2018 02:54:35
                 Ashley Funding Services LLC,     c/o Resurgent Capital Services,    PO Box 10587,
                 Greenville, SC    29603-0587
14326672       +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Sep 18 2018 02:39:08         Capital One,
                 Po Box 30285,    Salt Lake City UT 84130-0285
14326676       +E-mail/Text: bankruptcy_notifications@ccsusa.com Sep 18 2018 02:44:49
                 Credit Collections Svc,    Po Box 773,    Needham MA 02494-0918
14326677       +E-mail/PDF: creditonebknotifications@resurgent.com Sep 18 2018 02:39:17         Credit One Bank Na,
                 Po Box 98873,    Las Vegas NV 89193-8873
14322605       +E-mail/Text: bankruptcy@flagshipcredit.com Sep 18 2018 02:43:17         Flagship Credit Acceptance,
                 PO BOX 3807,    coppell, TX 75019-4354
14326678       +E-mail/Text: bankruptcy@flagshipcredit.com Sep 18 2018 02:43:17         Flagship Credit Acceptance,
                 Po Box 965,    Chadds Ford PA 19317-0643
14326680       +E-mail/Text: RMOpsSupport@alorica.com Sep 18 2018 02:43:08        Global Receivables Sol,
                 2703 N Highway 75,    Sherman TX 75090-2567
14326682        E-mail/Text: cio.bncmail@irs.gov Sep 18 2018 02:41:18        Internal Revenue Service,
                 Centralized Insolvency Operations,     PO BOX 7346,    Philadelphia PA 19101-7346
14326683       +E-mail/Text: bnckohlsnotices@becket-lee.com Sep 18 2018 02:40:52         Kohls/Capital One,
                 Po Box 3120,    Milwaukee WI 53201-3120
14326684       +E-mail/Text: bnc@nordstrom.com Sep 18 2018 02:40:57        Nordstrom Fsb,    Correspondence,
                 Po Box 6555,    Englewood CO 80155-6555
14451684        E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 18 2018 02:54:17
                 Portfolio Recovery Associates, LLC,     POB 12914,    Norfolk VA 23541
14326056        E-mail/Text: jennifer.chacon@spservicing.com Sep 18 2018 02:45:17
                 Select Portfolio Servicing, Inc.,     P.O. Box 65250,    Salt Lake City, UT 84165-0250
14326689       +E-mail/Text: bankruptcy@sdil.net Sep 18 2018 02:44:48        Southwest Diagnostic Imaging,
                 2323 W. Rose Garden Lane,     Phoenix AZ 85027-2530
14454425        E-mail/Text: jennifer.chacon@spservicing.com Sep 18 2018 02:45:17
                 U.S. Bank National Association,     c/o Select Portfolio Servicing, Inc.,     P.O. Box 65250,
                 Salt Lake City, UT 84165-0250
                                                                                                TOTAL: 16

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
District/off: 0970-2                  User: stroude                      Page 2 of 2                          Date Rcvd: Sep 17, 2018
                                      Form ID: pdf010                    Total Noticed: 41

14326671*             Bureau of Medical Economics,   PO Box 20247,   Phoenix AZ 85036-0247
14326687*            +Select Portfolio Servicing, Inc,   PO Box 65250,    Salt Lake City UT 84165-0250
14724049*             Select Portfolio Servicing, Inc.,   P.O. Box 65250,    Salt Lake City, UT 84165-0250
                                                                                                   TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 19, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 13, 2018 at the address(es) listed below:
              BRIAN M. BLUM    on behalf of Debtor RONALD RELF brian@turnaroundteam.com,
               teresie@turnaroundteam.com,paula@turnaroundteam.com,kyle@turnaroundteam.com
              BRIAN M. BLUM    on behalf of Joint Debtor VANESSA RELF brian@turnaroundteam.com,
               teresie@turnaroundteam.com,paula@turnaroundteam.com,kyle@turnaroundteam.com
              DANIEL E GARRISON    on behalf of Joint Debtor VANESSA RELF dan@turnaroundteam.com,
               teresie@turnaroundteam.com,brian@turnaroundteam.com,kyle@turnaroundteam.com,
               paula@turnaroundteam.com
              DANIEL E GARRISON    on behalf of Debtor RONALD RELF dan@turnaroundteam.com,
               teresie@turnaroundteam.com,brian@turnaroundteam.com,kyle@turnaroundteam.com,
               paula@turnaroundteam.com
              EDWARD 5 MANEY     on behalf of Trustee EDWARD J. MANEY courtecf@maney13trustee.com
              EDWARD J. MANEY    courtecf@maney13trustee.com
              JAMES F KAHN    on behalf of Mediator JAMES F. KAHN james.kahn@azbk.biz, jfkpcecf@gmail.com,
               ahartkr68748@notify.bestcase.com
              KRISTIN E MCDONALD    on behalf of Creditor    U.S. Bank National Association, as trustee, on
               behalf of the holders of the Credit Suisse First Boston Mortgage Securities Corp., Home Equity
               Pass Through Certificates, Series 2007-1 bknotice@mccarthyholthus.com,
               kmcdonald@mccarthyholthus.com,kmcdonald@ecf.courtdrive.com
              KYLE A. KINNEY    on behalf of Debtor RONALD RELF kyle@kinneylaw.net, paulahillock@kinneylaw.net
              KYLE A. KINNEY    on behalf of Joint Debtor VANESSA RELF kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              LAKSHMI JAGANNATH     on behalf of Creditor    U.S. Bank National Association, as trustee, on
               behalf of the holders of the Credit Suisse First Boston Mortgage Securities Corp., Home Equity
               Pass Through Certificates, Series 2007-1 bknotice@mccarthyholthus.com
              MARY B. MARTIN    on behalf of Trustee EDWARD J. MANEY mary@maney13trustee.com
              PATRICIA DOYLE-KOSSICK     on behalf of Creditor    FLAGSHIP CREDIT ACCEPTANCE, LLC
               pdk@pdklawfirm.com
              U.S. TRUSTEE    USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                              TOTAL: 14
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                               UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF ARIZONA
    ,QUH                                                                   &DVH1R2:16-bk-13256-BMW
    Ronald Relf and                                                         CHAPTER 13 PLAN
    Vanessa Relf,
                                                                            ‫܆‬2ULJLQDO
                                                                            ‫܆‬$PHQGHG
                                                                            Y
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                                                                            ‫܆‬3D\PHQWVLQFOXGHSRVWSHWLWLRQPRUWJDJHSD\PHQWV
                                                                            ‫)܆‬ODW)HH$GPLQLVWUDWLYH([SHQVH
                                            'HEWRUV                       ‫܆‬+RXUO\)HH$GPLQLVWUDWLYH([SHQVH


    7KLV3ODQLQFOXGHVWKHIROORZLQJFKHFNDOOWKDWDUHDSSOLFDEOH

         ‫܆‬$OLPLWRQWKHDPRXQWRIDVHFXUHGFODLPZKLFKPD\UHVXOWLQDSDUWLDOSD\PHQWRUQRSD\PHQWWRWKHVHFXUHG
          FUHGLWRU6HH6HFWLRQ&E
         ‫܆‬$YRLGDQFHRIDMXGLFLDOOLHQRUQRQSRVVHVVRU\QRQSXUFKDVHPRQH\VHFXULW\LQWHUHVW6HH6HFWLRQ&F
          x 1RQVWDQGDUG3URYLVLRQV6HH6HFWLRQ+
         ‫܆‬
         ✔

    Your rights may be affected by this Plan. Your claim may be reduced, modified or eliminated.If you object to the
    treatment of your claim as proposed in this Plan or to any provision of this Plan, you must file a written objection
    by the deadline set forth below. The Bankruptcy Court may confirm this Plan without further notice if no objection
    is filed and the order is approved by the Trustee. See Bankruptcy Rule 3015 and Local Rule 2084-13.

    7KLV&KDSWHU3ODQLVSURSRVHGE\WKHDERYH'HEWRU7KH'HEWRUFHUWLILHVWKDWWKHLQIRUPDWLRQFRQWDLQHGLQWKLV3ODQLV
    DFFXUDWH$FUHGLWRUZKRGLVDJUHHVZLWKWKHSURSRVHGWUHDWPHQWRILWVGHEWLQWKLV3ODQPXVWWLPHO\ILOHDQREMHFWLRQWRWKH
    3ODQDQGVHUYHFRSLHVRQWKH'HEWRU'HEWRU¶VDWWRUQH\LIDQ\DQGWKH&KDSWHU7UXVWHHQRWOHVVWKDQGD\VDIWHUWKH
    GDWHVHWIRUWKHILUVWPHHWLQJRIFUHGLWRUVRUDQ\FRQWLQXDWLRQRIVXFKPHHWLQJRUGD\VDIWHUVHUYLFHRIWKH3ODQ
    ZKLFKHYHULVODWHU6HH/RFDO5XOH 

    7KLV3ODQGRHVQRWDOORZFODLPVRUDOWHUWKHQHHGIRUWLPHO\ILOLQJDQ\FODLP)RUDFUHGLWRUWRUHFHLYHDGLVWULEXWLRQIRUDQ
    XQVHFXUHGFODLPWKHFUHGLWRUPXVWILOHDSURRIRIFODLPZLWKWKH&RXUW

    ,IFRQILUPHGWKH3ODQZLOOPRGLI\WKHULJKWVDQGGXWLHVRIWKH'HEWRUDQGFUHGLWRUVH[FHSWVHFXUHGFUHGLWRUVZLOOUHWDLQWKHLU
    OLHQVXQWLOWKHHDUOLHURISD\PHQWRIWKHXQGHUO\LQJGHEW RU'HEWRU¶VGLVFKDUJHXQGHU&RGH,IWKHFDVHLVGLVPLVVHG
    RUFRQYHUWHGWRDQRWKHUFKDSWHUIRUH[DPSOH&KDSWHUZLWKRXWFRPSOHWLRQRIWKH3ODQHDFKOLHQVKDOOEHUHWDLQHGWRWKH
    H[WHQWUHFRJQL]HGE\DSSOLFDEOHQRQEDQNUXSWF\ODZ


1
  ³3ODQ´LQFOXGHVWKHRULJLQDOSODQDQGDQ\DPHQGHGRUPRGLILHGSODQ

  ,IWKLVLVDMRLQWFDVHWKHQ³'HEWRU´PHDQVERWK'HEWRUV
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  ³&RGH´PHDQVWKH8QLWHG6WDWHV%DQNUXSWF\&RGH86&HWVHT

/RFDO)RUP                                   &KDSWHU3ODQ                                                       3DJH
    3UHSHWLWLRQGHIDXOWVZLOOEHFXUHGXVLQJWKHLQWHUHVWUDWHVHWIRUWKLQWKH3ODQRU&RGHLIDSSOLFDEOH$Q\RQJRLQJ
    REOLJDWLRQZLOOEHSDLGDFFRUGLQJWR WKHWHUPVRIWKH3ODQ

         ✔ 7KLVLVDQ$PHQGHGRU0RGLILHG3ODQ
         ‫܆‬

               7KHUHDVRQVZK\'HEWRUILOHGWKLV$PHQGHGRU0RGLILHG3ODQ
               To conform to Trustee recommendations and commence conduit payments
                                                                                                                                                                

               6XPPDUL]HKRZWKH3ODQYDULHVIURPWKHODVW3ODQILOHGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                       Revises the plan to more specifically address
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               mortgage  conduit payments    and months where   post-petition payments were paid outside of the plan and
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               accounts for the allocation of excess supplemental settlement funds

    (A) Plan Payments and Property to be Submitted to the Trustee.

              3ODQSD\PHQWVVWDUWRQBBBBBBBBBBBBBBBBB7KH'HEWRUVKDOOSD\WKH7UXVWHHDVIROORZV
                                      December 18      16

                             00HDFKPRQWKIRUPRQWK 1WKURXJKPRQWK 1  FBDINPOUIGPSNPOUIUISPVHI
                             725.00HDFKPRQWKIRUPRQWK 2WKURXJKPRQWK     FBDINPOUIGPSNPOUITUISPVHI
                          2,300.00 HDFKPRQWKIRUPRQWK WKURXJKPRQWK
                                                              6                          $2,102.00
                                                                                                each month for month 17 through 17
                                                                                                                        $ 600.85 each month for months 18 through 60
            
         7KHSURSRVHG3ODQGXUDWLRQLVPRQWKV7KHDSSOLFDEOHFRPPLWPHQWSHULRGLVPRQWKV

       6HH&RGHE,QDGGLWLRQWRSODQSD\PHQWVDQGLIDSSOLFDEOHPRUWJDJHFRQGXLWSD\PHQWV'HEWRUZLOO
       VXEPLWWKHIROOZLQJSURSHUW\WRWKH7UXVWHH

                None other than $16,500 less attorney's fees that has already been paid to the trustee from a personal injury settlement netting
                $10,534.37 to the bankruptcy estate

(B) Trustee’s Percentage Fee. 7KH7UXVWHHVKDOOFROOHFWXSRQUHFHLSWDSHUFHQWDJHIHHIURPDOOSODQSD\PHQWVLQFOXGLQJ
    PRUWJDJHSD\PHQWVDQGSURSHUW\UHFHLYHGQRWWRH[FHHG

(C) Administrative Expenses and All Claims.

    (1) 8QWLOWKH&RXUWFRQILUPVWKH3ODQWKH7UXVWHHZLOOPDNHDGHTXDWHSURWHFWLRQSD\PHQWVXQGHU6HFWLRQ&D
        EHORZPRUWJDJHFRQGXLWSD\PHQWVXQGHU6HFWLRQ&ELIDSSOLFDEOHDQGSD\RWKHUVXPVDVRUGHUHGE\WKH
        &RXUW2WKHUGLVEXUVHPHQWVZLOOEHPDGHDIWHUWKH&RXUWFRQILUPVWKH3ODQ8QOHVVRWKHUZLVHSURYLGHGIRULQ
        6HFWLRQ+EHORZGLVEXUVHPHQWVE\WKH7UXVWHHVKDOOEHSURUDWDZLWKLQFODVVHVDQGPDGHLQWKHIROORZLQJRUGHU

        (a) Adequate protection payments to creditors secured by personal property.

             ‫ ܆‬None. If “None” is checked, the rest of Section (C)(1)(a) is not to be completed.

              3XUVXDQWWR/RFDO5XOHWKH7UXVWHHLVDXWKRUL]HGWRPDNHPRQWKO\SUHFRQILUPDWLRQDGHTXDWHSURWHFWLRQ
              SD\PHQWVWRDVHFXUHGFUHGLWRUZLWKRXWD&RXUWRUGHUSURYLGHGWKHFODLPLVSURSHUO\OLVWHGRQ6FKHGXOH'D
              VHFXUHGSURRIRIFODLPLVILOHGWKDWLQFOXGHVGRFXPHQWDWLRQHYLGHQFLQJDSHUIHFWHGVHFXULW\DJUHHPHQWDQG
              WKH'HEWRURUFUHGLWRUVHQGVDOHWWHUWRWKH7UXVWHHUHTXHVWLQJSD\PHQW7KH7UXVWHHZLOODSSO\DGHTXDWH
              SURWHFWLRQSD\PHQWVWRWKHFUHGLWRU¶VVHFXUHGFODLP$IWHUFRQILUPDWLRQDGHTXDWHSURWHFWLRQSD\PHQWVZLOO
              FRQWLQXHXQWLOWKHFODLPLVSDLGLQIXOOXQOHVVWKHFRQILUPHG3ODQRUD&RXUWRUGHUVSHFLILHVDGLIIHUHQW
              WUHDWPHQW,IDFUHGLWRUGLVDJUHHVZLWKWKHDPRXQWRIWKHSURSRVHGDGHTXDWHSURWHFWLRQSD\PHQWVRUWKH3ODQ
              IDLOVWRSURYLGHIRUVXFKSD\PHQWVWKHFUHGLWRUPD\ILOHDQREMHFWLRQWRFRQILUPDWLRQRIWKLV3ODQDQGRUILOHD
              PRWLRQSXUVXDQWWR&RGHRU




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             ‫ ܆‬Nonstandard Provisions6HH6HFWLRQ+

         (b) Mortgage Conduit Payments.

             ‫ ܆‬None.

                     7KH7UXVWHHVKDOOGLVEXUVH&RQGXLW3D\PHQWVWRD5HDO3URSHUW\&UHGLWRUZLWKRXWUHJDUGWRZKHWKHUWKH
                     &RXUWKDVFRQILUPHGD3ODQRUWKH5HDO3URSHUW\&UHGLWRUKDVILOHGDSURRIRIFODLP6HH6HFWLRQ&F
                     DQG/RFDO5XOH

     (2) Administrative expenses. &RGHD

        (a) Attorney fees. 'HEWRU¶V DWWRUQH\KDVDJUHHGWR

             ‫ ܆‬$IODWIHHRI                   RIZKLFK                 ZDVSDLGEHIRUHWKHILOLQJRIWKHFDVH6HH/RFDO5XOH
                 
                     or
             Y )LOHDIHHDSSOLFDWLRQIRUSD\PHQWRIDUHDVRQDEOHDPRXQWRIIHHV7KHHVWLPDWHGDPRXQWRIIHHVWREH
             ‫܆‬
                 SDLGE\WKH7UXVWHHVXEMHFWWR&RXUWRUGHULVRIZKLFK
                                                                    4690.00                           1190.00 ZDVSDLGEHIRUHWKH
                 ILOLQJRIWKHFDVH

        (b) Additional Services. &RXQVHOIRUWKH'HEWRUKDVDJUHHGWRFKDUJHDIODWIHHIRUWKHIROORZLQJDGGLWLRQDOVHUYLFHV
            SURYLGHGWRWKH'HEWRU

             L         %HIRUH&RQILUPDWLRQ
                          ‫ ܆‬$GYHUVDU\SURFHHGLQJV
                          ‫ ܆‬/LHQ$YRLGDQFH$FWLRQV
                          ‫ ܆‬3UHSDULQJDQGILOLQJRIDQ\PRWLRQWRVHOOSURSHUW\ 1,200.00
                                                    Plan Confirmation
                          x
                          ‫܆‬  2WKHU)ODW)HHVIRUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                    MMM Program                                             1,250.00                             

             LL        $IWHU&RQILUPDWLRQ
                          ‫ ܆‬3UHSDULQJDQGILOLQJRI0RGLILHG3ODQ
                          ‫ ܆‬5HVSRQGLQJWRPRWLRQWRGLVPLVVDQGDWWHQGDQFHDWKHDULQJV
                          ‫' ܆‬HIHQGLQJPRWLRQIRUUHOLHIIURPWKHDXWRPDWLFVWD\
                          ‫ ܆‬$GYHUVDU\SURFHHGLQJV 
                          ‫ ܆‬/LHQ$YRLGDQFH$FWLRQV
                          ‫ ܆‬3UHSDULQJDQGILOLQJRIDQ\PRWLRQWRVHOOSURSHUW\
                           x
                          ‫܆‬  2WKHU)ODW)HHVIRUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                    Any of the above proceedings                                   1,200.00                      

             $OORWKHUDGGLWLRQDOVHUYLFHVZLOOEHELOOHGDWWKHUDWHRI 250.00   SHUKRXUIRUDWWRUQH\WLPHDQG
              195.00 SHUKRXUIRU SDUDOHJDOWLPH &RXQVHOZLOOILOHDQGQRWLFHDVHSDUDWHIHHDSSOLFDWLRQGHWDLOLQJWKH
             DGGLWLRQDOIHHVDQGFRVWVUHTXHVWHG&RXQVHOZLOOLQFOXGHall WLPHH[SHQGHGLQWKHFDVHLQWKHVHSDUDWHIHH
             DSSOLFDWLRQ


/RFDO)RUP                                        &KDSWHU3ODQ                                                                      3DJH
        (c) Other Professional Expenses

          See Varying Provisions.




     (3) Leases and Unexpired Executory Contracts

        ‫܆‬
        Y None. If “None” is checked, the rest of Section (C)(3) is not to be completed.

             3XUVXDQWWR&RGHEWKH'HEWRUDVVXPHVRUUHMHFWVWKHIROORZLQJOHDVHRUXQH[SLUHGH[HFXWRU\FRQWUDFW
             )RUDOHDVHRUH[HFXWRU\FRQWUDFWZLWKVXPVRZLQJWKHDUUHDUDJHZLOOEHFXUHGE\SHULRGLFSODQSD\PHQWV
             8QOHVVWKH&RXUWRUGHUVRWKHUZLVHWKHDUUHDUDJHDPRXQWVKDOOEHWKHDPRXQWVWDWHGLQWKHFUHGLWRU¶VDOORZHG
             SURRIRIFODLP

         (a) Assumed.

             1RLQWHUHVWZLOOEHSDLGRQWKHSUHSHWLWLRQDUUHDUDJHXQOHVVRWKHUZLVHVWDWHGLQ1RQVWDQGDUG3URYLVLRQVDW
             6HFWLRQ+$FUHGLWRULGHQWLILHGLQWKLVSDUDJUDSKPD\PDLOWRWKH'HEWRUDOOFRUUHVSRQGHQFHQRWLFHV
             VWDWHPHQWVSD\PHQWFRXSRQVHVFURZQRWLFHVDQGGHIDXOWQRWLFHVFRQFHUQLQJDQ\FKDQJHWRWKHPRQWKO\
             SD\PHQWRULQWHUHVWUDWHZLWKRXWVXFKEHLQJDYLRODWLRQRIWKHDXWRPDWLFVWD\

                                                                                                   (VWLPDWHG       $UUHDUDJH
                          &UHGLWRU                          3URSHUW\'HVFULSWLRQ                 $UUHDUDJH       7KURXJK
                                                                                                    $PRXQW           'DWH




             ‫ ܆‬Nonstandard Provisions6HH6HFWLRQ+

         (b) Rejected.


                              &UHGLWRU                                       3URSHUW\'HVFULSWLRQ




             ‫ ܆‬Nonstandard Provisions6HH6HFWLRQ+

     (4) Creditors with a Security Interest in Real Property.

        ‫ ܆‬None. If “None” is checked, the rest of Section (C)(4) is not to be completed.

        (a) Claim Wholly Unsecured. 7KH'HEWRUFRQVLGHUVDQ\UHDOSURSHUW\FUHGLWRUOLVWHGEHORZWRKDYHDQXQVHFXUHG
            FODLPXQGHU&RGHDDVVHQLRUOLHQVDUHJUHDWHULQDPRXQWWKDQWKHYDOXHRIWKHUHDOSURSHUW\8QOHVV
            GLVDOORZHGRURWKHUZLVHRUGHUHGHDFKRIWKHIROORZLQJVKDOOEHFODVVLILHGDVDZKROO\XQVHFXUHGFODLPXQGHU
            6HFWLRQ&EHORZ7KLVSURYLVLRQVKDOOQRWDOWHUWKHVWDWXVRIDFODLPRWKHUZLVHHQWLWOHGWREHFODVVLILHGDVD
            SULRULW\XQGHU&RGHD


/RFDO)RUP                               &KDSWHU3ODQ                                                     3DJH
                                                                                                                                                                                  7RWDO
                                                                                                                                                                                $PRXQWRI
                                                                                                                                                       9DOXHRI
                            &UHGLWRU                                                      3URSHUW\'HVFULSWLRQ                                                                /LHQVZLWK
                                                                                                                                                       &ROODWHUDO
                                                                                                                                                                                 *UHDWHU
                                                                                                                                                                                 3ULRULW\




        (b) No Pre-Petition Mortgage Arrears7RWKHH[WHQWWKHUHDUHQRSUHSHWLWLRQDUUHDUVUHJXODUSRVWSHWLWLRQ
            PRUWJDJHSD\PHQWVVKDOOEHSDLGGLUHFWO\E\WKH'HEWRUWRWKHVHFXUHGFUHGLWRU

                                                                                                                                                       3RVW3HWLWLRQ3D\PHQWVE\
                                &UHGLWRU                                                     3URSHUW\$GGUHVV
                                                                                                                                                                 'HEWRU

         .JDIJHBO4UBUF)PVTJOH                                         .JUDIFMM4U)BNUSBDL.*8BZOF                                
                                                                        $PVOUZ




        (c) Curing of Default and Maintenance of Payments.3UHSHWLWLRQDUUHDUDJHVLQFOXGLQJIHHVDQGFRVWVDVZHOODV
            WKHUHJXODUSRVWSHWLWLRQSD\PHQWVVKDOOEHSDLGWKURXJKWKH3ODQE\WKH7UXVWHH1RLQWHUHVWZLOOEHSDLGRQ
            WKHSUHSHWLWLRQDUUHDUDJHXQOHVVRWKHUZLVHVWDWHGLQ1RQVWDQGDUG3URYLVLRQV8QOHVVWKH&RXUWRUGHUV
            RWKHUZLVHWKHDUUHDUDJHDPRXQWVKDOOEHWKHDPRXQWVWDWHGLQWKHFUHGLWRU¶VDOORZHGSURRIRIFODLP

              $FUHGLWRULGHQWLILHGLQWKLVSDUDJUDSKPD\PDLOWKH'HEWRUDOOFRUUHVSRQGHQFHQRWLFHVVWDWHPHQWVSD\PHQW
              FRXSRQVHVFURZQRWLFHVDQGGHIDXOWQRWLFHVFRQFHUQLQJDQ\FKDQJHWRWKHPRQWKO\SD\PHQWRULQWHUHVWUDWH
              ZLWKRXWYLRODWLQJWKHDXWRPDWLFVWD\

                                                                                                                                                              (VWLPDWHG
                                                                                                                                                                          ,QWHUHVW
                                                                                                                                                              $UUHDUDJH
                                                                                                                                      &XUUHQW                            5DWHLI
           &UHGLWRURU3URSHUW\6HUYLFLQJ                                                                                                                     $PRXQW
                                                                               3URSHUW\'HVFULSWLRQ                                  0RQWKO\                           DSSOLFDEOH
                       $JHQW                                                                                                                                 2ZHGDQG
                                                                                                                                      3D\PHQW                              LH
                                                                                                                                                              'DWH2ZHG
                                                                                                                                                                          +2$¶V
                                                                                                                                                               7KURXJK
           4FMFDU1PSUGPMJP4FSWJDJOH*OD8.VSJFM%S(MFOEBMF";


           8FTU(MFO$PNNVOJUZ*OD                                   8.VSJFM%S(MFOEBMF";                   QFSRVBSUFS                                




              ‫܆‬
              Y Nonstandard Provisions6HH6HFWLRQ+


     (5) Claims Secured by Personal Property or a Combination of Real and Personal Property.

        ‫ ܆‬None. If “None” is checked, the rest of Section (C)(5) is not to be completed.

              &ODLPVXQGHUSDUDJUDSKVDDQGEWKDWDUHLQFOXGHGLQWKHSODQSD\PHQWZLOOEHSDLGFRQFXUUHQWO\DQGSUR
              UDWD

        (a) Unmodified Secured Claims.

              ‫܆‬
              Y None. If “None” is checked, the rest of Section (C)(5)(a) is not to be completed.


/RFDO)RUP                                                          &KDSWHU3ODQ                                                                                             3DJH
            $FODLPVWDWHGLQWKLVVXESDUDJUDSKLHFODLPVZLOOEHSDLGLQIXOOXQGHUWKH3ODQZLWKLQWHUHVWDWWKHUDWH
            VWDWHGEHORZZKLFKPD\YDU\IURPWKHFRQWUDFWLQWHUHVWUDWH8QOHVVRWKHUZLVHRUGHUHGWKHSULQFLSDODPRXQW
            WREHSDLGZLOOEHDVVWDWHGLQWKHFUHGLWRU¶VSURRIRIFODLP7KHKROGHURIDFODLPZLOOUHWDLQWKHOLHQXQWLOWKH
            HDUOLHURISD\PHQWRIWKHXQGHUO\LQJGHEWGHWHUPLQHGXQGHUQRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHU&RGH
             DWZKLFKWLPHWKHOLHQZLOOWHUPLQDWHDQGVKDOOEHUHOHDVHGE\WKHFUHGLWRU)HGHUDOWD[OLHQVVKDOO
            FRQWLQXHWRDWWDFKWRSURSHUW\H[FOXGHGIURPWKHEDQNUXSWF\HVWDWHXQGHU&RGHFXQWLOWKH,QWHUQDO
            5HYHQXH6HUYLFHLVUHTXLUHGWRUHOHDVHWKHOLHQVLQDFFRUGDQFHZLWKQRQEDQNUXSWF\ODZ

                                                                                                                (VWLPDWHG
                                                                                                                $PRXQWWR              3URSRVHG
                          &UHGLWRU                            3URSHUW\'HVFULSWLRQ                            EH3DLGRQ              ,QWHUHVW
                                                                                                                 6HFXUHG                 5DWH
                                                                                                                  &ODLP




            ‫ ܆‬7KLVGHEWKDVQRQILOLQJFRGHEWRUVRWKHUWKDQDVSRXVH
                    1DPHVRIRWKHULQGLYLGXDOVOLDEOH
                    3RVWSHWLWLRQSD\PHQWVWREHPDGHE\ ‫ ܆‬7UXVWHHRU
                                                                  ‫ ܆‬1RQILOLQJFRGHEWRU

            ‫ ܆‬Nonstandard Provisions6HH6HFWLRQ+

        (b) Modified Secured Claims.

            ‫ ܆‬None. If “None” is checked, the rest of Section (C)(5)(b) is not to be completed.

            6HFXUHGFUHGLWRUVOLVWHGEHORZVKDOOEHSDLGWKHDPRXQWVKRZQEHORZDVWKH$PRXQWWREH3DLGRQ6HFXUHG
            &ODLPZLWKVXFKDPRXQWSDLGWKURXJKWKH3ODQSD\PHQWV,IWKH3ODQSURSRVHVWRSD\D6HFXUHG&ODLPOHVV
            WKDQWKHDPRXQWDVVHUWHGLQWKHSURRIRIFODLPWKHQWKHKROGHURIWKH6HFXUHG&ODLPPXVWILOHDWLPHO\
            REMHFWLRQWRWKH3ODQ,IWKHSULQFLSDODPRXQWRIWKHFUHGLWRU¶VSURRIRIFODLPLVOHVVWKDQWKH$PRXQWWREH3DLG
            RQ6HFXUHG&ODLPWKHQRQO\WKHSURRIRIFODLPDPRXQWZLOOEHSDLG,IDFUHGLWRUIDLOVWRILOHDVHFXUHGFODLPRU
            ILOHVDZKROO\XQVHFXUHGFODLPWKHGHEWRUPD\GHOHWHWKHSURSRVHGSD\PHQWRIDVHFXUHGFODLPLQWKHRUGHU
            FRQILUPLQJSODQ7KHKROGHURIDWLPHO\ILOHGVHFXUHGFODLPZLOOUHWDLQLWVOLHQXQWLOWKHHDUOLHURISD\PHQWRIWKH
            XQGHUO\LQJGHEWGHWHUPLQHGXQGHUQRQEDQNUXSWF\ODZRUGLVFKDUJHXQGHU&RGHDWZKLFKWLPHWKHOLHQ
            ZLOOWHUPLQDWHDQGVKDOOEHUHOHDVHGE\WKHFUHGLWRU$Q\SURSRVHGDGHTXDWHSURWHFWLRQSD\PHQWVDUHSURYLGHG
            IRULQ6HFWLRQ&DDERYH

                                                                                                                 $PRXQWWR
                                                                                                                                        3URSRVHG
                                                        'HEW           9DOXHRI&ROODWHUDODQG                 EH3DLGRQ
            &UHGLWRUDQG3URSHUW\'HVFULSWLRQ                                                                                          ,QWHUHVW
                                                       $PRXQW            9DOXDWLRQ0HWKRG                       6HFXUHG
                                                                                                                                          5DWH
                                                                                                                   &ODLP
          'MBHTIJQ$SFEJU"DDFQUBODF                           ,FMMZ#MVF#PPL      
          $IFWSPMFU.BMJCV




            ‫܆‬Y Nonstandard Provisions6HH6HFWLRQ+



/RFDO)RUP                              &KDSWHU3ODQ                                                                           3DJH
        (c) Lien Avoidance.

            ‫܆‬None.If
            Y            “None” is checked, the rest of Section (C)(5)(c) need not be completed.

            7KHMXGLFLDOOLHQVRUQRQSRVVHVVRU\QRQSXUFKDVHPRQH\VHFXULW\LQWHUHVWVVHFXULQJWKHFODLPVOLVWHGEHORZ
            LPSDLUH[HPSWLRQVWRZKLFKWKHGHEWRUVZRXOGKDYHEHHQHQWLWOHGXQGHU&RGHE8QOHVVRUGHUHG
            RWKHUZLVHDMXGLFLDOOLHQRUVHFXULW\LQWHUHVWVHFXULQJDFODLPOLVWHGEHORZZLOOEHDYRLGHGWRWKHH[WHQWWKDWLW
            LPSDLUVVXFKH[HPSWLRQVXSRQHQWU\RIWKHRUGHUFRQILUPLQJWKHSODQ7KHDPRXQWRIWKHMXGLFLDOOLHQRU
            VHFXULW\LQWHUHVWWKDWLVDYRLGHGZLOOEHWUHDWHGDVDQXQVHFXUHGFODLPLQ6HFWLRQ&WRWKHH[WHQWDOORZHG
            7KHDPRXQWLIDQ\RIWKHMXGLFLDOOLHQRUVHFXULW\LQWHUHVWWKDWLVQRWDYRLGHGZLOOEHSDLGLQIXOODVDVHFXUHG
            FODLPXQGHUWKHSODQ6HH&RGHIDQG%DQNUXSWF\5XOHGIf more than one lien is to be avoided,
            provide the information separately for each lien. All information for the avoidance of the lien(s) must be
            provided.


            ,QIRUPDWLRQUHJDUGLQJMXGLFLDOOLHQRU      ,QIRUPDWLRQUHJDUGLQJFDOFXODWLRQRIOLHQDYRLGDQFHDQGWUHDWPHQW
                      VHFXULW\LQWHUHVW                                   RIUHPDLQLQJVHFXUHGFODLP




     (6) Priority, Unsecured Claims, Other Than Debtor’s Attorney Fees.

        ‫܆‬
        Y None. If “None” is checked, the rest of Section (C)(6) is not to be completed.


            $OODOORZHGFODLPVHQWLWOHGWRSULRULW\WUHDWPHQWXQGHU&RGHVKDOOEHSDLGLQIXOOSURUDWD

        (a) Unsecured Domestic Support Obligations7KH'HEWRUVKDOOUHPDLQFXUUHQWRQVXFKREOLJDWLRQVWKDWFRPHGXH
            DIWHUILOLQJWKHSHWLWLRQ8QSDLGREOLJDWLRQVEHIRUHWKHSHWLWLRQGDWHDUHWREHFXUHGLQWKHSODQSD\PHQWV7KH
            DPRXQWWREHSDLGZLOOEHDGMXVWHGWRWKHFUHGLWRU¶VDOORZHGFODLPDPRXQWWKURXJKWKHFODLPSURFHVV,IWKH
            KROGHURIDGRPHVWLFVXSSRUWREOLJDWLRQGLVDJUHHVZLWKWKHWUHDWPHQWSURSRVHGLQWKLV3ODQWKHKROGHUPXVWILOH
            DWLPHO\REMHFWLRQ


                             &UHGLWRU                                              (VWLPDWHG$UUHDUDJH




       (b) 2WKHUXQVHFXUHGSULRULW\FODLPV

                                                                                                                    (VWLPDWHG
                             &UHGLWRU                                     7\SHRI3ULRULW\'HEW
                                                                                                                     $PRXQW




/RFDO)RUP                              &KDSWHU3ODQ                                                      3DJH
             ‫ ܆‬Nonstandard Provisions6HH6HFWLRQ+

     (7) Nonpriority, Unsecured Claims. $OORZHGXQVHFXUHGQRQSULRULW\FODLPVVKDOOEHSDLGSURUDWDWKHEDODQFHRI
         SD\PHQWVLIDQ\XQGHUWKH3ODQ7KHDPRXQWWREHSDLGRUDFWXDOO\SDLGPD\GLIIHUIURPWKH3ODQ$QDO\VLV
         GHSHQGLQJRQWKH3ODQFRQILUPDWLRQSURFHVVDQGFODLPVDOORZDQFH

         ‫ ܆‬Nonstandard Provisions6HH6HFWLRQ+

 (D) Surrendered Property.

     ‫܆‬
     x
       None. If “None” is checked, the rest of Section (D) is not to be completed.

         'HEWRUVXUUHQGHUVWKHIROORZLQJSURSHUW\WRWKHVHFXUHGFUHGLWRU8SRQFRQILUPDWLRQRIWKLV3ODQRUH[FHSWDV
         RWKHUZLVHRUGHUHGEDQNUXSWF\VWD\VDUHOLIWHGDVWRWKHFROODWHUDOWREHVXUUHQGHUHG$Q\FODLPILOHGE\VXFK
         FUHGLWRUVKDOOUHFHLYHnoGLVWULEXWLRQXQWLOWKHFUHGLWRUILOHVDFODLPRUDQDPHQGHGSURRIRIFODLPWKDWUHIOHFWVDQ\
         GHILFLHQF\EDODQFHUHPDLQLQJRQWKHFODLP6KRXOGWKHFUHGLWRUIDLOWRILOHDQDPHQGHGGHILFLHQF\FODLPFRQVLVWHQW
         ZLWKWKLVSURYLVLRQWKH7UXVWHHQHHGQRWPDNHDQ\GLVWULEXWLRQVWRWKDWFUHGLWRU


                               (QWLW\                                           %ULHI'HVFULSWLRQRI3URSHUW\




 (E) Vesting. ([FHSWDVVWDWHGLQWKLVSDUDJUDSKSURSHUW\RIWKHHVWDWHVKDOOYHVWLQWKH'HEWRUXSRQFRQILUPDWLRQRIWKH
     3ODQ

     ‫ ܆‬7KHIROORZLQJSURSHUW\VKDOOYHVWLQWKH'HEWRUXSRQ3ODQFRPSOHWLRQ

                                                     %ULHI'HVFULSWLRQRI3URSHUW\




     ‫ ܆‬Nonstandard Provisions.6HH6HFWLRQ+

 (F) Tax Returns:KLOHWKHFDVHLVSHQGLQJWKH'HEWRUVKDOOSURYLGHWRWKH7UXVWHHDFRS\RIDQ\SRVWSHWLWLRQWD[UHWXUQ
     ZLWKLQGD\VDIWHUILOLQJWKHUHWXUQZLWKWKHWD[DJHQF\7KH'HEWRUKDVILOHGDOOWD[UHWXUQVIRUDOOWD[DEOHSHULRGV
     GXULQJWKHIRXU\HDUSHULRGHQGLQJRQWKHSHWLWLRQGDWHH[FHSW



                                                         8QILOHG7D[5HWXUQV
                                                         None




 (G) Funding Shortfall. 'HEWRUZLOOFXUHDQ\IXQGLQJVKRUWIDOOEHIRUHWKH3ODQLVGHHPHGFRPSOHWHG




/RFDO)RUP                                &KDSWHU3ODQ                                                     3DJH
 (H) Nonstandard Provisions. $Q\1RQVWDQGDUG3URYLVLRQLQFOXGHGKHUHLQPXVWQRWEHLQFRQVLVWHQWZLWKWKH&RGHRU/RFDO
     5XOHVDQGPXVWLGHQWLI\WKHSURYLVLRQRIWKH3ODQEHLQJPRGLILHGWKHSURSRVHGPRGLILFDWLRQDQGWKHMXVWLILFDWLRQIRU
     WKHPRGLILFDWLRQ$Q\1RQVWDQGDUG3URYLVLRQSODFHGHOVHZKHUHLQWKLV3ODQLVYRLG7KH'HEWRUVXEPLWVWKHIROORZLQJ
     SURYLVLRQVWKDWYDU\IURP6HFWLRQ&RIWKH/RFDO3ODQ)RUP

    ‫ ܆‬None. If “None” is checked, the rest of Section (H) is not to be completed.
    ‫ ܆‬3URYLGHWKHGHWDLOUHTXLUHGDERYH

                                                               1RQVWDQGDUG3URYLVLRQV
       [State the provision(s) with reference to relevant paragraph(s)]
       1. Section C(1) Select Portfolio Servicing Inc. (as loan servicer for U.S. Bank NA), secured by a first deed of trust in the Debtors’ residence,
       shall be paid the prepetition arrearage of $19,250.62 with 0.00% interest. Regular post-petition payments initially will be made by Debtors
       directly to SPS in months 1 through 5; conduit payments will be made by Trustee in months 6 through 17. In months 18 through 60,
       Debtors will make payment directly to the secured creditor.
       2. Section C(1)(a) Flagship Credit Acceptance will receive adequate protection payments in the amount of $145 to be paid through the plan;
       3. Michigan State Housing Development Authority, secured by a mortgage in the real property located at 11383 Mitchell St # 7 Hamtramck,
       MI 48212 shall not be paid by the Trustee. Any post-petition payments due will be made directly by the Debtors to the secured creditor.
       This property was granted to Debtors in settlement of a class action discrimination action against the county/state and may not be transferred.
       4. West Glen Community Inc., secured by a statutory lien in the Debtors’ residence for homeowner association dues, shall be paid the
       prepetition arrearage of $1,286.72 with 0.00% interest. All post-petition dues and fees shall be paid directly by the Debtors to this creditor
       per the pre-bankruptcy agreements.
       Section (C)(2) A fee application was filed by prior counsel and the court has ordered $3,165 iin fees and $420 in costs be paid to said
       counsel. Current counsel shall be allowed total compensation of $1,250 for services rendered in connection with Debtors' participation in
       the MMM program (which was unsuccessful) and appeal of the same, and $1,200 for services rendered in plan confirmation, upon
       application and a signed order.
       5. The Debtors' bankruptcy estate received a payment of $16,500 resulting from a personal injury settlement. $250 of those funds were
       paid via the Trustee to James Kahn, special counsel and $5,715.43 from those funds were paid to Matthew R. Boatman for legal services
       rendered to Debtors' in bringing that action. The remaining $10,534.57 will be applied first to unsecured debts and then to secured debts.




/RFDO)RUP                                       &KDSWHU3ODQ                                                                3DJH
 (I) Plan Summary. ,IWKHUHDUHGLVFUHSDQFLHVEHWZHHQWKH3ODQDQGWKLV3ODQ$QDO\VLVWKHSURYLVLRQVRIWKHFRQILUPHG3ODQ
     FRQWURO

      7UXVWHH¶V &RPSHQVDWLRQ  RI 7RWDO RI 3ODQ 3D\PHQWV WR 7UXVWHH  
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 (J) Section 1325 analysis.

      %HVW,QWHUHVWRI&UHGLWRUV7HVW

           D9DOXHRI'HEWRU¶VLQWHUHVWLQQRQH[HPSWSURSHUW\
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           F/HVV(VWLPDWHG&KDSWHUDGPLQLVWUDWLYHH[SHQVHV 
           G/HVV$PRXQWSD\DEOHWRXQVHFXUHGSULRULW\FUHGLWRUV 
           H(TXDOV(VWLPDWHGDPRXQWSD\DEOHWRXQVHFXUHGQRQSULRULW\FODLPVLI'HEWRUILOHG&KDSWHU

      6HFWLRQE$QDO\VLV

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 Certification by Debtor(s) and Attorney for Debtor(s): No changes were made to the Model Plan, other than the possible
 inclusion of relevant Nonstandard Provisions in Section (H).


 'DWHG August 29                            BBBB
                                                    18


   s/Ronald Relf                                                                s/ Vanessa Relf
 'HEWRU Ronald Relf                                                       'HEWRU Vanessa Relf



    s/Kyle A. Kinney
 $WWRUQH\IRU'HEWRU




/RFDO)RUP                                                &KDSWHU3ODQ                                                                        3DJH
